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                  Exhibit 1
 Declaration of Jitesh Parikh
 Certifying the Supplemental
Documents for Inclusion in the
   Administrative Record
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   SOUTHERN DISTRICT


     MARYLAND CHAPTER OF THE SIERRA
     CLUB et al.,

                         Plaintiffs,

                   v.                                    Civil Action No. DKC 22-2597

     FEDERAL HIGHWAY
     ADMINISTRATION, et al.

                         Defendants.


                    DECLARATION OF JITESH PARIKH
               CERTIFYING THE SUPPLEMENTAL DOCUMENTS
        FOR INCLUSION IN THE FEDERAL HIGHWAY ADMINISTRATION’S
       ADMINISTRATIVE RECORD FOR THE MANAGED LANES STUDY (MLS)
                               LITIGATION

I, JITESH PARIKH, pursuant to 28 U.S.C. § 1746, declare as follows:

1.       My name is Jitesh Parikh. I am a resident of Maryland, and my business address is 31

Hopkins Plaza, Suite 1520 Baltimore, Maryland 21201.

2.       I am currently Senior Advisor with the Federal Highway Administration (FHWA)

Maryland Division and have served in this capacity since January 2023.

3.       As Senior Advisor, and in my former P3/MLS Director and Environment and Project

Delivery Team Leader (EPDTL) positions, my responsibilities include assisting the Maryland

Department of Transportation, State Highway Administration (MDOT-SHA) in the development

of transportation projects in compliance with the National Environmental Policy Act (NEPA),

Council of Environmental Quality Guidelines, and FHWA Directives, relating to social,

economic, and environmental effects of proposed projects.
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4.     As Senior Advisor, and in my former P3/MLS Director and EPDTL positions, I am

familiar with the Managed Lanes Study (MLS) Project, which is the subject of the above-

referenced lawsuit.

5.     In my capacity as Senior Advisor, and in my former P3/MLS Director and EPDTL

positions, I oversaw the coordination and compilation of the FHWA administrative record for the

Project. I personally searched the FHWA Maryland Division Office files to locate, evaluate, and

identify documents upon which the FHWA decision-maker directly or indirectly relied on in

evaluating the MLS Project.

6.     The FHWA also requested that MDOT-SHA provide the documents upon which it relied

in its capacity as a joint lead agency for the project and which therefore directly or indirectly

informed FHWA’s decision.

7.     On May 3, 2023, FHWA lodged the index with the Court and sent Plaintiffs the

administrative record and index.

8.     A recent inquiry by Plaintiffs about the administrative record resulted in FHWA locating

documents that were not included in the administrative record index filed on May 3, 2023.

FHWA agrees with the inclusion of the supplemental documents in the administrative record.

9.     FHWA has created a supplemental volume that continues the pagination of the previous

volume, as well as created a supplemental index.

10.    Plaintiffs will be sent the supplemental volume and the new index listing the

supplemental documents.

11.    To the best of my knowledge, the supplemental administrative record contains the

documents inadvertently excluded from the May 3, 2023 index.
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12.    To the best of my knowledge and based on my personal involvement in compiling the

administrative record, the supplemental index, attached hereto as Exhibit 2, and record

documents served on Counsel of Record in this matter constitute a true, correct, and complete

copy of the administrative record for the Project.

13.    To the best of my knowledge, each document contained in the administrative record is a

true and correct copy of the original document located in the files of the United States

Department of Transportation, FHWA, and MDOT-SHA.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge.

Executed this __8th__ day of June, 2023.


                                                         Digitally signed by
                                       JITESH H          JITESH H PARIKH
                                                         Date: 2023.06.08
                                       PARIKH            10:46:54 -04'00'
                                       ____________________________________
                                       Jitesh Parikh
